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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

C.A., K.P., R.K., and T.H.,
Plaintiffs,
CIVIL ACTION NO. 1:21-CV-00957-SDG

V.

EXTENDED STAY AMERICA, INC.:.
ESA MANAGEMENT, LLC; and
HVM, L.L.C.,

Defendants.

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MODIFIED SCHEDULING ORDER
This matter is before the Court on the Parties’ Joint Motion for Modification
of Scheduling Order, requesting that this Court amend the scheduling order
previously entered on August 9, 2022. Based on the Parties’ agreement and good
cause shown, the Court GRANTS the Parties’ motion and enters the following

modified scheduling order:

 

Deadline Current Revised

 

Close of fact discovery November 30, 2022 | January 30, 2022

 

Designation of experts and December 30, 2022 | February 28, 2023

production of expert reports

 

 

 

 

 
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Deadline Current Revised

 

Designation of rebuttal experts and January 30, 2023 March 31, 2023

production of rebuttal expert reports

 

Completion of expert discovery February 28, 2023 | May 1, 2023

including expert depositions

 

 

Deadline for filing of summary March 31, 2023 June 30, 2023

judgment and Daubert motions

 

 

 

SO ORDERED this 31st day of October, 2022.

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Honorable Steven D. Grimberg
United States District Court Judge
